Case 3:17-cv-01128-HES-JBT Document 35 Filed 08/29/19 Page 1 of 2 PageID 227



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

FLORIDA DEFENDERS OF THE
ENVIRONMENT, a Florida not-for-profit
Corporation, BRUCE KASTER, and
JOSEPH LITTLE,

       Plaintiffs,

v.                                                         Case No: 3:17-cv-1128-HES-JBT

UNITED STATES FOREST SERVICE,

       Defendant.
                                            /

       NOTICE OF WITHDRAWAL OF COUNSEL FOR GENNARO SCIBELLI

      Counsel for Plaintiffs, FLORIDA DEFENDERS OF THE ENVIRONMENT, et. al. hereby

gives notice of withdrawal as counsel for Gennaro Scibelli, Esq. Scibelli is no longer employed

at Jane West Law, P.L. and is relieved of any further responsibility in this matter. All further

pleadings and papers can be sent to the Plaintiffs’ counsel of record, Jane West, Esq.,

(jane@janewestlaw.com) at the address 24 Cathedral Place, Suite 504, St. Augustine, FL 32084.


                                                           Respectfully submitted,

                                                           JANE WEST LAW, P.L.


                                                                                _______
                                                           JANE WEST
                                                           Florida Bar No.: 159417
                                                           Jane West Law, P.L.
                                                           24 Cathedral Place, Ste 504
                                                           St. Augustine, FL 32084
                                                           (904) 471-0505
                                                           jane@janewestlaw.com
                                                           Attorney for Plaintiffs
Case 3:17-cv-01128-HES-JBT Document 35 Filed 08/29/19 Page 2 of 2 PageID 228



                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the foregoing has been electronically filed with the United
States District Court, Middle District of Florida, Jacksonville Division and a copy has been
furnished by electronic mail to Hayley A. Carpenter, Esquire, P.O. Box 7611, Washington, DC
20044-7611, hayley.carpenter@usdoj.gov, on this 29th day of August, 2019.




                                                            JANE WEST
